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            Democracy Dies in Darkness



Opinion: He chose jail over disowning his sister — and
set an example for all his countrymen
Opinion by Roya Hakakian

May 1, 2020 at 9:00 a.m. EDT


Roya Hakakian is the author of the memoir “Journey From the Land of No: A Girlhood Caught in Revolutionary
Iran.”

Last fall, Iranian authorities arrested Alireza Alinejad, a 45-year-old father of two, who has not broken any laws, not
even according to the officials who jailed him. There would be nothing newsworthy about yet another unwarranted
arrest in Iran, except that this one involves an unusual story of familial love, with a brother making a profound
sacrifice for the sake of his sister.

Amid the novel coronavirus pandemic, Iran has temporarily freed more than 50,000 prisoners to combat the disease’s
spread in the country’s crowded jails, but Alinejad remains in the notorious Evin prison in Tehran, vulnerable to covid-
19 infection. At his first court hearing last week, the judge would not specify the charges against him and refused to
grant parole. According to Alinejad’s defense attorney, the judge’s questioning focused on his sister’s activities.

His sister is Masih Alinejad, an exiled journalist and prominent critic of the clerical regime’s human rights abuses. She
fled Iran in 2009 and has lived since 2014 in New York, where she hosts a TV show on the Voice of America’s Persian
service. Her followers on social media, 3.5 million on Instagram alone, outnumber those of the country’s president and
the supreme leader combined.

Over the past few years, Masih’s family members in Iran have come under increasing government pressure to cut ties
with her. In 2018, one of Masih’s sisters appeared on national television and denounced her. No one in the family,
Masih says, not even her mother, has dared to keep in touch with her — except for Alireza, or Ali, as he is known. In the
days leading to his arrest, he had a sense of foreboding and recorded a video message, telling Masih to carry on with
her work even if he was detained.

The Revolutionary Guards came for him at dawn on Sept. 24, handcuffed and blindfolded him in front of their 10-year-
old daughter and 6-month-old son, his wife reports, and took him away. Ali’s lawyer says that he has since been kept in
ward 2A of Evin prison, a special section for political prisoners operated by the Revolutionary Guards.

Ali and Masih grew up in a small village in northern Iran in a poor, devout Muslim family of diehard supporters of
Ayatollah Khomeini, who led the nation’s 1979 revolution overthrowing the shah, Iran’s last monarch. As Masih
recounted in her 2018 memoir “The Wind in My Hair,” Ali was an ideal brother, loving and gentle, in a community
where women were treated like an underclass. He believed that his sister deserved all the freedoms he enjoyed, Masih
wrote.
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It was through watching Ali, Masih wrote, that she
                Case 1:19-cv-03599-GMH             found the contours
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                                                                                       — to have
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                                                                                                  3 freedom to
bike, or swim in the village river as he did, to ultimately become the woman she is: a fierce, independent spirit and
advocate for women’s rights. As the best-known critic of Iran’s compulsory dress code, particularly the oppressive hijab
law, Masih has inspired thousands of women to defy the government and walk the streets of Iran without covering
their hair.




In dozens of self-recorded videos posted online, Iranian women address Masih affectionately as they walk while
holding up their mobile phones, speaking with pride and conviction, assuming themselves in charge of their bodies,
and deserving of human rights and dignity.

The regime’s propaganda has tried to portray Masih as a disgrace to her family, but she says that she has found great
comfort in Ali’s reassurance that he is proud of her and believes in her. His refusal to further isolate Masih by ceasing
to communicate with her is almost certainly what landed him in prison.

Ali appeared in court last week before Judge Mohammad Moghisseh, whom the Treasury Department has announced
sanctions against for miscarriages of justice and violations of religious freedom. Ali’s defense attorney, Saeed Dehghan,
said on his Instagram account, which has since been made private, that the judge essentially treated Ali as a stand-in
for his sister.

“My brother’s only crime is that he’s related to me,” Masih said in a news release. “He is subjected to this cruel
punishment just to keep me silent.”

No doubt Ali would be released if only he would denounce his sister. By refusing to do so, he is becoming a new kind of
martyr in a region that sanctifies martyrdom. He is suffering to uphold the rights of women, but in doing so he is
redefining for many Iranians what it means to be a man. For too long, brothers, husbands and fathers have empowered
the oppressors, if not through their support, then through silence. A doting brother has shown that men, too, can play
a role in the liberation of his nation’s women.

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